                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                       AT KNOXVILLE


 UNITED STATES OF AMERICA,                          )
                                                    )
                        Plaintiff,                  )
                                                    )
 v.                                                 )             No. 3:07-CR-51
                                                    )             (Phillips/Shirley)
 TAVARES SMITH                                      )
                                                    )
                        Defendant.                  )
                                                    )

                                     ORDER OF DETENTION

                The defendant Tavares Smith was previously released from custody pending trial on

 an Order Setting Conditions of Release [Doc. 53]. However, on June 4, 2007, Assistant United

 States Attorney David Jennings and Attorney Jonathan Cooper, counsel for defendant Tavares

 Smith, met with the undersigned to discuss the defendant’s release and recent new information and

 changes in circumstances that had a material, and potentially adverse, bearing on the issue of Mr.

 Smith’s release and whether or not there were still conditions of release that would reasonable assure

 the Court of the defendant’s appearance as required and the safety of other persons and the

 community.

                After the meeting, Attorney Cooper conferred with the defendant regarding these

 matters and the defendant agreed to go into custody pending trial. The defendant agreed he will not

 contest the issue of this revocation of his release status and he waives a hearing on these issues.

 Based upon the defendant’s agreement, this Court’s Order Setting Conditions of Release [Doc. 53]

 is revoked and defendant Tavares Smith is to be detained.

                For good cause shown, including the change in circumstances, the defendant’s




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 agreement to go into custody, and the defendant’s request not to contest the revocation of the

 previous order of release, his waiver of a further detention hearing is granted.

                It is therefore ORDERED that:



                (1) defendant Tavares Smith be detained;

                (2) defendant will be committed to the custody of the Attorney
           General or his designated representative for confinement in a correction
           facility separate to the extent practicable from persons awaiting
           sentencing or serving sentences or being held in custody pending appeal;

               (3) defendant be afforded a reasonable opportunity for private
           consultation with defense counsel; and

                (4) on order of this Court or a Court of the United States or upon
           request of the attorney for the government, the person in charge of the
           corrections facility shall deliver Defendant to the United States Marshals
           for the purpose of an appearance in connection with a Court proceeding.


                        IT IS SO ORDERED.

                                                    ENTER:

                                                    s/ C. Clifford Shirley, Jr.

                                                    C. Clifford Shirley, Jr.
                                                    United States Magistrate Judge




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